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                           I.INITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  LUBBOCKDIVISION

  UNITED STATES OF AMERICA,
    Plairtiff,

                                                           NO. 5:19-CR-116-01-H

 ANTIOINE TREAVON DAVIS (I),
    Defendant.


             ORDER ACCEPTING REPORT AND RECOMMENDATION
                OF TIIE UNITED STATES MAGISTRATE JUDGE
                       CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Norice Regarding Entry

 of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

 Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

 having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

 $ 636OXl), the undersigned District Judge is of the opinion rhat the Reporr and

 Recommendation of the Magistrate Judge conceming the Plea of Guilty is corect, and it is

 hereby accepted by the Court. Accordingly, the Coun accepts the plea of guilty and

 Defendant is hereby adjudged guilty.

        Sentence will be imposed in accordance with the Court's scheduling order.

        SO ORDERED,

        Dated December     S ,20t9



                                           JAM           EY HENDRIX
                                           UN      D STATES DISTRICT ruDGE
